                         IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,
                       Plaintiff,
vs.                                                                          CR 19-1991 KWR


ANTONIO CARRILLO,

                       Defendant,


                                    ORDER CONTINUING TRIAL
                                    AND PRETRIAL DEADLINES


       THIS MATTER is before the Court in conjunction with the Administrative Order 20-MC-

00004-17 entered on April 27, 2020 by Chief Judge William P. Johnson.

       Due to the Court’s reduced ability to obtain an adequate spectrum of jurors and the effect

of the public health recommendations on the availability of counsel and Court staff to be present

in the courtroom, the time period of the continuances implemented by this Order shall be excluded

under the Speedy Trial Act. The Court finds that the ends of justice served by ordering the

continuances of all criminal jury trials outweigh each defendant’s right to and the public’s interest

in speedy indictment or trial. Therefore, the time period of the continuances implemented by this

Order will be excluded under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A).

       IT IS THEREFORE ORDERED that the Jury Selection/Trial of May 11, 2020 is

VACATED. Call of the Calendar is reset for June 4, 2020, at 9:00 a.m. and Jury Selection/Trial

is reset for June 8, 2020, at 9:00 a.m., on a trailing docket at the United States Courthouse, 333

Lomas Blvd., NW, Bonito Courtroom, before Judge Kea W. Riggs in Albuquerque, New Mexico.
       IT IS FURTHER ORDERED that the substantive motion deadline is hereby extended

until May 18, 2020.

       IT IS FURTHER ORDERED that, so as to conserve judicial resources, any motion to

continue trial must be filed no later than May 26, 2020.

       IT IS FURTHER ORDERED that pursuant to 18 U.S.C. §3161(h)(7)(A), the Court finds

that the ends of justice served by granting the unopposed motion for continuance outweigh the best

interest of the public and the defendant in a speedy trial.

       IT IS FINALLY ORDERED that counsel shall adhere to the instructions and case

management deadlines as set forth in the following attachment, “Preparation for Criminal Trial”

(includes guidelines for preparation of proposed jury instructions, JERS Informational Letter, and

JERS Attorney Guide).




                                               __________________________________________
                                               KEA W. RIGGS
                                               United States District Judge




                                                 -2-
                  PLEASE REFER TO THE FOLLOWING
       ATTACHMENTS FOR ADDITIONAL DEADLINES AND INFORMATION:

“Preparation for Criminal Trial” (includes guidelines for preparation of proposed jury
instructions, JERS Informational Letter, and JERS Attorney Guide).


        OTHER INSTRUCTIONS/MOTION TO CONTINUE TRIAL DEADLINE:
Motions for continuance in criminal cases must be filed in accordance with 18 U.S.C. §
3161(h)(7)(A), specifically setting forth the factual grounds justifying the continuance under
the statute.   In cases involving multiple defendants, counsel must file a joint motion for
continuance with all counsel approving said motion. MOTIONS TO CONTINUE MUST
COMPLY WITH THE SPECIFIC REQUIREMENTS SET FORTH IN UNITED STATES
V. TOOMBS, 574 F.3D 1262 (10TH CIR. 2009). THE MOTION “MUST CONTAIN AN
EXPLANATION OF WHY THE MERE OCCURRENCE OF THE EVENT IDENTIFIED
BY THE PARTY AS NECESSITATING THE CONTINUANCE RESULTS IN THE NEED
FOR ADDITIONAL TIME.”                 ID. AT 1271.         MOTIONS CONTAINING SHORT,
CONCLUSORY STATEMENTS REGARDING THE REASON A CONTINUANCE IS
REQUESTED ARE INSUFFICIENT UNDER TOOMBS AND WILL BE SUMMARILY
DENIED BY THE COURT.


                                 TRAILING TRIAL DOCKET:
Counsel are referred to the trailing docket of cases as they appear for jury/selection trial on the
Public Court Calendar for June, 2020.     The order in which cases appear on the Court Calendar
does not necessarily reflect the order in which cases will be tried.




                                                -3-
